Case 2:04-cr-20504-.]DB Document 11 Filed 08/16/05 Page 1 of 2 Page|D 10

UNITED STATES DISTRICT COURT §§ m
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:(]gcr20504-Bre

ANNIE RASH

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this l § day of August,

“C;»P\

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

2005.

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

ANN]E RASH

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:04-CR-20504 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

